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                                                                                   2020 Oct-02 PM 01:26
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                   UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION

 CHARLA JOHNSON,                           )
                                           )
       Plaintiff,                          )
                                           )
 v.                                        )   Case No.: 2:20-cv-00827-LSC-HNJ
                                           )
 RON ADKINS, et al.,                       )
                                           )
       Defendants.                         )

                                      ORDER
      The magistrate judge entered a report on September 3, 2020, recommending

the court dismiss all claims in this action pursuant to 28 U.S.C. § 1915A(b) for

failing to state a claim upon which relief can be granted, except for the plaintiff’s

procedural due process claim against defendant Adkins. (Doc. 12). Although the

magistrate judge advised the plaintiff of her right to file specific written objections

within fourteen (14) days, no objections have been received by the court.

      Having carefully reviewed and considered de novo all the materials in the

court file, including the report and recommendation, the magistrate judge’s report is

hereby ADOPTED and the recommendation is ACCEPTED. The court ORDERS

that all of the plaintiff’s claims are DISMISSED WITHOUT PREJUDICE

pursuant to 28 U.S.C. § 1915A(b), EXCEPT the plaintiff’s procedural due process

claim against defendant Adkins. The court further ORDERS that the plaintiff’s
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procedural due process claim against defendant Adkins is REFERRED to the

magistrate judge for further proceedings.

      DONE and ORDERED on October 2, 2020.



                                                _____________________________
                                                        L. Scott Coogler
                                                   United States District Judge
                                                                                  160704




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